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Attorneys for Defendant

                    IN THE UNITED STATES DISTRICT COURT
                     DISTRICT OF UTAH, CENTRAL DIVISION


      UNITED STATES OF AMERICA,                          MOTION FOR JAMES HEARING
                                                         AND NOTIFICATION OF ORAL
                   Plaintiff,                                   TESTIMONY

                       v.

     AARON MICHAEL SHAMO, et. al.,                          Case No. 2:16-CR-00631 DAK

                  Defendant.                                    Judge Dale A. Kimball


       Aaron Michael Shamo, through his counsel, hereby moves the Court to preside over a

James hearing to determine whether any statements made by Mr. Shamo’s codefendants, or

alleged unnamed conspirators, are admissible under the Confrontation Clause and the

coconspirator exception to the hearsay rule, Federal Rule of Evidence 801(d)(2)(E).

       Because the government must determine if it intends to introduce such statements, and

would bear the burden of proof, Mr. Shamo cannot determine how many witnesses would be


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called or the length of their testimony.

       A memorandum of law is submitted herewith, and counsel for Mr. Shamo also seeks the

opportunity to brief the Court once the evidentiary hearing is completed.

       DATED this 7th day of December, 2018.

                                                    SKORDAS, CASTON & HYDE, LLC

                                                    /s/ Gregory G. Skordas
                                                    Gregory G. Skordas
                                                    Attorney for Defendant




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of December, 2018, I filed a true and correct copy of

the foregoing MOTION FOR JAMES HEARING AND NOTIFICATION OF ORAL

TESTIMONY, with the Clerk of the Court using CM/ECF system, which sent notification of

such filing to the following:

         S. Michael Gadd
         mgadd@agutah.gov

         Vernon G. Stejskal
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                                             /s/ Sabrina Nielsen-Legal Secretary
                                             Skordas, Caston & Hyde, LLC




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Attorneys for Defendant

                    IN THE UNITED STATES DISTRICT COURT
                     DISTRICT OF UTAH, CENTRAL DIVISION


      UNITED STATES OF AMERICA,                           MEMORANDUM IN SUPPORT
                                                           OF MOTION FOR JAMES
                   Plaintiff,                                   HEARING

                         v.                                 Case No. 2:16-CR-00631 DAK

     AARON MICHAEL SHAMO, et. al.,                               Judge Dale A. Kimball

                  Defendant.


       Aaron Michael Shamo, through his counsel, hereby submits this memorandum in support

of his motion for the Court to preside over a James hearing to determine whether any statements

made by Mr. Shamo’s codefendants, or alleged unindicted coconspirators are admissible under

the Confrontation Clause and the coconspirator exception to the hearsay rule, Federal Rule of

Evidence 801(d)(2)(E).

                                             Facts


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       In all counts of the indictment, the government may attempt to use statements by

codefendants, and other alleged unknown or known but unnamed coconspirators, allegedly made

during the course of and in furtherance of the alleged conspiracy against defendant.

                                        Discussion of Law

       The Sixth Amendment to the United States Constitution guarantees all criminal

defendants the right to confront their accusers.

       Aside from Confrontation Clause analysis, Federal Rule of Evidence 802(d) states in

relevant part:

       (d) a statement that meets the following conditions is not hearsay:
       ...
       (2) An Opposing Party’s Statement. The statement is offered against an opposing party
       and: . . . (E) was made by the party’s coconspirator during and in furtherance of the
       conspiracy. The statement must be considered but does not by itself establish . . . the
       existence of the conspiracy and the participation in it under (E).

       Pursuant to Bourjaily v. United States, 483 U.S. 171, 175 (1987), this Court must find by

a preponderance of the evidence that statements fall within the parameters of the rule in order to

admit them. “Under Tenth Circuit law, a district court can only admit coconspirator statements if

it holds a James hearing or conditions admission on forthcoming proof. … repeatedly mentioned,

however, ‘our strong preference for James proceedings.’” United States v. Townley, 472 F.3d

1267, 1273 (10th Cir. 2007) (citations omitted). The Tenth Circuit requires proof of three prongs

under 801(d)(2)(E). First, the government must prove the existence of a conspiracy. United

States v. Owens, 70 F.3d 1118, 1123 (10th Cir. 1995). Second, the government must prove that

the defendant and the declarant were both members of the conspiracy. Id. Finally, the

government must prove that the statements were made in furtherance of and in the course of the

conspiracy. Id.

       To establish the existence of a conspiracy, the government must present evidence


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independent from the coconspirator statements. United States v. Martinez, 825 F.2d 1451, 1453

(10th Cir. 1987). To prove membership in a conspiracy, the government must show:

       [1] that two or more persons agreed to violate the law, [2] that the defendant knew at least

the essential objectives of the conspiracy, . . . [3] that the defendant knowingly and voluntarily

became a part of it, and [4] that the alleged coconspirators were interdependent. United States v.

Evans, 970 F.2d 663, 668 (10th Cir. 1992) (citation omitted).

       A statement is made during the course of conspiracy if it is uttered before the objectives

of the conspiracy eithers fails or succeed. United States v. Owens, 70 F.3d 1118, 1126 (10th Cir.

1995). A statement is viewed as having been made in furtherance of a conspiracy if it intended

by the declarant to advance conspiratorial objectives. United States v. Reyes, 798 F.2d 380, 384

(10th Cir. 1986). This element of the test is applied narrowly to insure that the coconspirator

exception to the hearsay rule is applied in limited circumstances. United States v. Perez, 989

F.2d 1574, 1578 (10th Cir. 1993, en banc).

       WHEREFORE, the Defendant respectfully requests the Court set the matter for a James

hearing to determine such admissibility in advance of trial currently scheduled to begin January

22, 2019.

       DATED this 7th day of December, 2018.

                                                      SKORDAS, CASTON & HYDE, LLC

                                                      /s/ Gregory G. Skordas
                                                      Gregory G. Skordas
                                                      Attorney for Defendant




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of December, 2018, I filed a true and correct copy of

the foregoing PRELIMINARY MEMORANDUM IN SUPPORT OF MOTION FOR JAMES

HEARING AND NOTIFICATION OF ORAL TESTIMONY, with the Clerk of the Court using

CM/ECF system, which sent notification of such filing to the following:

        S. Michael Gadd
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                                             /s/ Sabrina Nielsen-Legal Secretary
                                             Skordas, Caston & Hyde, LLC




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